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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ANTHONY BATISTA,
                                                             24-CV-00082 (JHR)(RFT)
                       Plain�ﬀ,
         -against-                                            STATUS CONFERENCE

 CONSOLIDATED EDISON OF NEW YORK, INC.,
                          Defendant.

ROBYN F. TARNOFSKY, United States Magistrate Judge:

       This ac�on is scheduled for a telephonic status conference on, July 10, 2024 at

10:30 A.M. The par�es are directed to call my Microso� Teams conference line at the

scheduled �me by dialing (646) 453-4442, Access Code: 680 513 203#.

DATED: July 8, 2024
       New York, New York



                                                       SO ORDERED.

                                                       __________________________
                                                       ROBYN F. TARNOFSKY
                                                       United States Magistrate Judge
